          Case 1:18-cv-01214-PB
Case: 19-1795                   Document
                Document: 16 Page: 1     25 Filed:
                                       Date Filed 11/08/19
                                                   11/07/2019PageEntry
                                                                  1 of 1ID: 6296015




               United States Court of Appeals
                               For the First Circuit
 No. 19-1795
                           OLIVIA KARPINSKI; PAUL EDALAT

                                    Plaintiffs - Appellants

                                              v.

     UNION LEADER CORPORATION; PATRICIA J. GROSSMITH; TRENT E. SPINER

                                   Defendants - Appellees


                                        MANDATE

                                 Entered: November 7, 2019

        In accordance with the judgment of November 7, 2019, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            Maria R. Hamilton, Clerk


 cc:
 Matthew Reeves Johnson
 Gregory V. Sullivan
